                            UNITED STATES BANKRUPTCY COURT
                             WESTERN DISTRICT OF LOUISIANA
                                   LAFAYETTE DIVISION

IN RE:                                             §        CASE NO. 17-51014
                                                   §
KNIGHT ENERGY HOLDINGS, LLC,                       §        CHAPTER 11
et al.,1                                           §
                                                   §
                 DEBTORS.                          §
                                                   §

    MOTION FOR AN ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY

         This is a motion for relief from the automatic stay. If it is granted, the movants
         will act outside of the bankruptcy process. If you do not want the automatic
         stay lifted, immediately contact the moving parties to settle. If you cannot
         settle, you must file a response and send a copy to the moving party at least
         seven (7) days before the hearing. If you cannot settle, you must attend the
         hearing. Evidence may be offered at the hearing and the Court may rule on
         this motion.

         Represented parties should act through their attorney.

         There will be a hearing on this matter on October 24, 2017, at 10:00 a.m. in
         the Courtroom of The Hon. Robert Summerhays, 114 Jefferson Street,
         Lafayette, Louisiana.

         NOW INTO COURT, through undersigned counsel, come Rippy Oil Company, Rippy

Interest LLC, The Genecov Group, Inc., and John D. Proctor (together, “Rippy Oil”), who are

plaintiffs in the civil matter captioned Rippy Oil Company, et al. v. Knight Oil Tools, Inc., et al.,




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          The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: Knight Energy Holdings, LLC (1930) (Case No. 17-51014); Knight Oil Tools, LLC (2667)
(Case No. 17-51015); Knight Manufacturing, LLC (0600) (Case No. 17-51016); KDCC, LLC, f/k/a Knight Well
Services, LLA (4156) (Case No. 17-51017); Tri-Drill, LLC (4957) (Case No. 17-51018); Advanced Safety & Training
Management, LLC (0510) (Case No. 17-51019); Knight Security, LLC (0923) (Case No. 17-51020); Knight
Information Systems, LLC (0000) (Case No. 17-51021); El Caballero Ranch, Inc. (7345) (Case No. 17-51022); Rayne
Properties, LLC (0000) (Case No. 17-51023); Knight Aviation, LLC (3329) (Case No. 17-51024); Knight Research
& Development, LLC (3760) (Case No. 17-51025); Knight Family Enterprises, LLC (7190) (Case No. 17-51026);
HMC Leasing, LLC (0814) (Case No. 17-51027); and HMC Investments, LLC (0000) (Case No. 17-51029. The
Debtors’ service address is 2272 SE Evangeline Thruway, Lafayette, Louisiana 70508, except for Knight
Manufacturing, LLC, which can be served at 2710-A Melancon Road, Broussard, Louisiana 70518, and Advanced
Safety and Training Management, LLC, which can be served at 1042 Forum Drive, Broussard, Louisiana 70518.
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No. 0-10-498, pending in the 369th Judicial District Court in Leon County, Texas (the

“Proceeding”). A true copy of the First Amended Original Petition filed in the Proceeding is

attached hereto as Exhibit A. In support of this Motion, Rippy Oil respectfully states as follows:

                                       RELIEF SOUGHT

                                                 1.

       The Proceeding is a civil action. Through this Motion and pursuant to § 362(d) of chapter

11 of title 11 of the United States Code (the “Bankruptcy Code”), Rippy Oil seeks relief from the

automatic stay of the Proceeding in order that it may continue to proceed against Knight Oil Tools,

Inc. (the “Debtor”) a Defendant in the Proceeding. In support of this Motion, Rippy Oil states that

(i) upon information and belief, the Debtor has applicable liability insurance coverage in an amount

not less than $26 Million, which is available and sufficient to cover any judgment Rippy Oil

obtains in its favor in the Proceeding, and (ii) Rippy Oil will seek to enforce any judgment it

obtains in its favor in the Proceedings only against those insurance proceeds.

                                        JURISDICTION

                                                 2.

       Jurisdiction in this Court is premised upon 28 U.S.C. §§ 157 and 1334. This is a core

proceeding and is brought to obtain relief relative to the automatic stay afforded by 11 U.S.C.

§ 362(a). Counsel for Rippy Oil has contact counsel for the Debtor regarding this Motion, who

has not consented to the relief sought in this Motion as of the filing. Accordingly, this Motion is

considered a contested proceeding pursuant to Rule 9014 of the Federal Rules of Bankruptcy

Procedure.




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                                         BACKGROUND

                                               3.
        In the Proceeding, Rippy Oil asserts causes of action against Debtor associated with the

manufacture, supply, rental, and delivery of a drill pipe for use in Rippy Oil’s exploration and

production operations in Leon County, Texas; specifically, Rippy Oil asserts Texas state law

causes of action for (i) negligence and negligent misrepresentation; (ii) strict liability and product

liability; (iii) breach of express warranty of goods; (iv) breach of implied warranty of

merchantability and fitness for a particular purpose; (v) violation of the Texas Deceptive Trade

Practices Act; (vi) gross negligence; (vii) breach of contract; (viii) fraud; and (ix) aiding and

abetting, civil conspiracy, concert of action, spoliation, and successor liability.

                                                  4.

        Upon information and belief, the Debtor is a party to at least two insurance policies that

are responsive to the claims by Rippy Oil in the Proceeding. Specifically, the Debtor has a $1

Million liability policy with Chubb Insurance Company (successor to a policy initially written by

Ace American Insurance Company) and a $25 Million liability policy with AIG Insurance

Company (successor to a policy initial written by Chartis Specialty Insurance Company). Chubb

Insurance Company has assumed full responsibility for defending the Debtor in the Proceeding

and remains listed as counsel for the Debtor.

                                                  5.

        The parties to the Proceeding have exchanged discovery, and Rippy Oil proposes to seek a

trial setting for April 3, 2018.




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       On August 8, 2017, the Debtor and several of its affiliates each filed petitions for

bankruptcy relief under chapter 11 in this Court.

                                                 7.

       At this time, Rippy Oil requests this Court enter an Order granting relief from the stay of

the Proceeding for cause pursuant to 11 U.S.C. § 362(d)(1).

                                   LAW AND ARGUMENT

                                                 8.

       Section 362(d)(1) of the Bankruptcy Code permits a Court to modify the automatic stay for

“cause.” Although the Bankruptcy Code does not expressly define “cause” for all purposes under

§ 362(d), courts have identified the following factors to be weighed in determining whether

“cause” exists to modify the automatic stay:

       (1) Whether relief would result in a partial or complete resolution of the issues; (2)
       lack of any connection with or interference with the bankruptcy case; (3) whether
       the other proceeding involves the debtor as fiduciary; (4) whether a specialized
       tribunal with the necessary expertise has been established to hear the cause of
       action; (5) whether the debtor’s insurer has assumed full responsibility for
       defending it; (6) whether the action primarily involves third parties; (7) whether
       litigation in another forum would prejudice the interests of other creditors; (8)
       whether the judgment claim arising from the other action is subject to equitable
       subordination; (9) whether the movant’s success in the other proceeding would
       result in a judicial lien avoidable by the debtor; (10) the interests of judicial
       economy and the expeditious and economical resolution of litigation; (11) whether
       the parties are ready for trial in the other proceeding; and (12) impact of the stay on
       the parties and the balance of harms.

Sonnax Indus., Inc. v. Tri Component Prod. Corp. (In re Sonnax Indus., Inc.), 907 F. 2d 1280,

1286 (2d Cir. 1990). “Not all of the factors are relevant in every case, and the court need not

assign equal weight to each factor.” In re N.Y. Med. Group, P.C., 265 B.R. 408, 413 (Bankr.

S.D.N.Y. 2001) (internal citations omitted).


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         Importantly, stay relief will not interfere with the Debtor’s bankruptcy case or affect any

distributions that are made from the estate. The Debtor’s liability insurer has assumed full

responsibility for defending the Debtor in the Proceeding; therefore, the Debtor will expend no

attorneys’ fees or court costs related to the Proceeding.
                                                  10.

         Further, the Debtor has liability insurance coverage sufficient to cover any judgment Rippy

Oil obtains in its favor in the Proceeding. Rippy Oil will seek to enforce any judgment it obtains

in its favor in the Proceedings only against those insurance proceeds; therefore, any resulting

judgment from the Proceeding will not affect distributions by the estate and will result in no

prejudice to any other creditor.2 Indeed, Rippy Oil has filed no proofs of claim in the Debtor’s

bankruptcy case and waives any claim it may have against the estate.




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           The Fifth Circuit has held “that while insurance policies are generally property of the estate, the proceeds of
liability insurance policies, unlike first party policies, generally are not.” Sosebee v. Steadfast Ins. Co., 701 F. 3d
1012, 1023 (5th Cir. 2012). As explained by the Fifth Circuit:

         [The] definition [of the bankruptcy estate] is intended to be broadly construed, and courts are
         generally in agreement that an insurance policy will be considered property of the estate. Insurance
         policies are property of the estate . . . . Any rights the debtor has against the insurer, whether
         contractual or otherwise, become property of the estate.

         Acknowledging that the debtor owns the policy, however, does not end the inquiry. The question
         is not who owns the policies, but who owns the liability proceeds . . . .

         The overriding question when determining whether insurance proceeds are property of the estate is
         whether the debtor would have a right to receive and keep those proceeds when the insurer paid on
         a claim . . . .

         Examples of insurance policies whose proceeds are property of the estate include casualty, collision,
         life, and fire insurance policies in which the debtor is a beneficiary. Proceeds of such insurance
         policies, if made payable to the debtor rather than a third party such as a creditor, are property of
         the estate and may inure to all bankruptcy creditors. But under the typical liability policy, the debtor
         will not have a cognizable interest in the proceeds of the policy. Those proceeds will normally be
         payable only for the benefit of those harmed by the debtor under the terms of the insurance contract.

Id. (quoting In re Edgeworth, 993 F. 2d 51, 55–56 (5th Cir. 1993)).
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                                                11.

        An evaluation of the Sonnax factors listed above weighs in favor of this Court granting

Rippy Oil’s Motion and modifying the automatic stay of the Proceeding in order that Rippy Oil

may continue to proceed against the Debtor in the Proceeding and, if successful, to enforce any

judgment against the Debtor’s liability insurance policy.

        WHEREFORE, Rippy Oil Company, Rippy Interest LLC, The Genecov Group, Inc., and

John D. Proctor respectfully request that the Court enter an order granting the Motion and

modifying the automatic stay of the Proceeding in order that they may continue to proceed against

the Debtor in the Proceeding, and granting such other and further relief as is just and proper.

                                              Respectfully submitted,

LUGENBUHL, WHEATON, PECK,                      /s/ Benjamin W. Kadden________________
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                                              Counsel for Rippy Oil Company, Rippy Interest
                                              LLC, The Genecov Group, Inc., and John D.
                                              Proctor


                                 CERTIFICATE OF SERVICE

        I hereby certify that a copy of the above and foregoing Motion has been served upon the

parties that receive electronic notice via the Court’s CM/ECF system on this 28th day of September

2017.

                                                      /s/ Benjamin W. Kadden




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